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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA

                v.                                 Criminal No. 22-cr-00007-LKG-1

 MARILYN J. MOSBY,                                 (Perjury, 18 U.S.C. § 1621; False Statement
                                                   on a Loan Application, 18 U.S.C. § 1014)
                        Defendant



DEFENDANT’S NOTICE OF OBJECTIONS TO PROPOSED JURY QUESTIONNAIRE

       Defendant State’s Attorney Marilyn J. Mosby (“State’s Attorney Mosby”), by and through

her undersigned counsel, hereby notifies the Court that she objects to certain aspects of the Court’s

proposed jury questionnaire. In support of those objections, State’s Attorney Mosby will submit

proposed revisions to the jury questionnaire to the Court via e-mail.


Dated: March 4, 2022                    Respectfully submitted,

                                        /s/ A. Scott Bolden

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                       Counsel for Defendant Marilyn J. Mosby.




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                                CERTIFICATE OF SERVICE

       I certify that, on March 4, 2022, this document was electronically filed with the Clerk of

Court using the Court’s CM/ECF system, which will then serve a notification of the filing to the

registered parties of record.

                                                    /s/ A. Scott Bolden
                                                    A. Scott Bolden




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